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 No. 04-08-00557-CV


THE OFFICE OF THE ATTORNEY GENERAL,

Appellant


v.



Donald Eugene CARTER,

Appellee



From the 224th Judicial District Court, Bexar County, Texas


Trial Court No. 1993-EM-500955


Honorable Joe Frazier Brown, Jr., Judge Presiding



Opinion by:	Karen Angelini, Justice

												

Sitting:	Karen Angelini, Justice

		Sandee Bryan Marion, Justice

		Phylis J. Speedlin, Justice

		

Delivered and Filed: 	July 8, 2009


REVERSED AND REMANDED


	In November 2007, the trial court signed an order affirming a child support arrearage in the
amount of $28,504 and ordering garnishment of Donald Carter's wages in the amount of $200 per
month in satisfaction of the arrearage.  Carter filed a Motion for New Trial and a Motion to Recover
Child Support Payments Made in Excess of Child Support.  The trial court heard Carter's motion
for new trial on January 28, 2008.  The Attorney General's Office ("the AG") was not represented
at the hearing, following which the trial court signed an Order of Default, ordering that the "child
support arrearage be terminated" and that Carter "recover payments made in excess of $200."  This
restricted appeal by the AG ensued.  We reverse and remand. 

DISCUSSION

	A restricted appeal (1) must be brought within six months of the date of judgment; (2) by a
party to the suit who did not participate in the trial; and (3) the error complained of must be apparent
from the face of the record.  Tex. R. App. P. 26.1(c); Norman Commc's v. Tex. Eastman Co., 955
S.W.2d 269, 270 (Tex. 1997) (per curiam).  The only issue in this appeal is whether there is error
apparent on the face of the record.  In its first issue on appeal, the AG asserts the trial court's
judgment must be reversed because no reporter's record was made of the hearing that led to the
default judgment.  We agree. 

	Texas Family Code section 105.003 places an affirmative duty on the trial court to ensure that
the court reporter makes a record of proceedings involving parent-child relationships.  See Tex. Fam.
Code Ann. § 105.003(c) (Vernon 2008); Stubbs v. Stubbs, 685 S.W.2d 643, 645-46 (Tex. 1985)
(interpreting predecessor to section 105.003); Garza v. Garza, 217 S.W.3d 538, 556 n.2 (Tex.
App.--San Antonio 2006, no pet.).  Unless waived by the parties with the trial court's permission,
the failure to make such a record amounts to reversible error.  See Tex. Fam. Code Ann.
§&nbsp;105.003(c); Stubbs, 685 S.W.2d at 646.  Here, a record was not made of the hearing on Carter's
motion for new trial or his motion to stay, and nothing in the record indicates the parties waived the
record.  Accordingly, reversible error is apparent from the face of the record before this court. 




CONCLUSION

	We reverse the trial court's judgment and remand the cause for further proceedings.  Because
our resolution of the AG's first issue is dispositive, we do not address the AG's remaining issues on
appeal.  See Tex. R. App. P. 47.1.

							Karen Angelini, Justice




